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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA
                               ABINGDON DIVISION

UNITED STATES OF AMERICA                       :
                                               :
             v.                                :   Case No. 1:20-CR-00041
                                               :
STACEY ELAM POMRENKE                           :

        RESPONSE IN OPPOSITION TO MOTION FOR EARLY TERMINATION
                         OF SUPERVISED RELEASE

        COMES NOW, the United States of America, through undersigned counsel, and responds

in opposition to defendant Stacey Elam Pomrenke’s pro se Motion for Early Termination of

Supervised Release (ECF No. 28).

                                      BACKGROUND

        On August 11, 2016, Ms. Pomrenke was sentenced to thirty-two months’ imprisonment

and three years of supervised release after she was found guilty subsequent to a jury trial of

conspiracy to defraud the United States, three counts of making false statements, conspiracy to

commit extortion, extortion, theft/bribery of a program receiving federal funds, conspiracy to

commit wire fraud, and six counts of wire fraud. See Case No. 1:15CR33, ECF No. 250. She

began her three-year term of supervision in Case No. 1:15CR33 on August 12, 2018. ECF No.

282.

        In November 2020, before Ms. Pomrenke completed her term of supervised release in Case

No. 1:15CR33, she pleaded guilty to conspiring to defraud the United States, in violation of 18

U.S.C. §§ 371 and 3147. Specifically, Ms. Pomrenke admitted that she and her husband engaged

in a scheme to fraudulently obtain admission into the Bureau of Prisons Residential Drug Abuse

Program (“RDAP”), thereby improperly reducing her original, 32-month sentence in Case No.

1:15CR33 by seven months. See ECF No. 18. As part of the scheme, Ms. Pomrenke and her
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husband hired a company to teach them how to provide false information to the BOP and

manufacture evidence of a claimed alcohol addiction. Id. On January 26, 2021, this Court

sentenced Ms. Pomrenke to 30 months’ incarceration and three years of supervised release for

such conduct. ECF No. 24. Ms. Pomrenke began her period of supervised release in this case on

August 28, 2023. ECF No. 29.

                                      LAW AND ARGUMENT

           Title 18, Section 3583(e)(1) authorizes this Court to terminate a term of supervised release

and discharge a defendant released from confinement after the expiration of one year of supervised

release. 18 U.S.C. § 3583(e)(1). Before terminating a sentence of supervised release, this Court

must consider the factors set forth in 18 U.S.C. §§ 3553(a)(1), (2)(B)-(D), (4), (5), (6), and (7),

and determine that early release is warranted by the conduct of the defendant and the interests of

justice.

           In this case, consideration of the sentencing factors outlined in 18 U.S.C. §§ 3553(a)(1)

and (a)(2)(B) weigh heavily against early termination of Ms. Pomrenke’s supervised release. Ms.

Pomrenke’s first term of supervision (in Case No. 1:15CR33) was cut short due to new charges.

She has served only approximately half of her current term of supervision, which is far less than

necessary to reflect the nature of her offense and afford adequate deterrence to criminal conduct.

Ms. Pomrenke pleaded guilty to the very serious offense of conspiring to defraud the United States.

Particularly relevant to the Court’s considerations here, Ms. Pomrenke’s admitted reason for

defrauding the government was to attempt to avoid the full impact of her original sentence. The

Court’s sentence of 30 months’ imprisonment and three years’ supervised release was imposed to

reflect the serious nature of her offense as well as her personal characteristics. While Ms.

Pomrenke’s good performance thus far on supervision is encouraging, the needs for the sentence
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imposed have not yet been met. Ms. Pomrenke should not be rewarded with a reduced term of

supervised release, particularly where, as here, Ms. Pomrenke’s motive in defrauding the

government was to avoid the full impact of her sentence.

       Accordingly, the government submits that the full period of supervised release must be

completed in order to adequately reflect the nature of the crime and deter Ms. Pomrenke from

engaging in future criminal conduct. The government asks this Court to deny Ms. Pomrenke’s pro

se request for early termination of supervised release.



                                                   Respectfully submitted,


                                                   ZACHARY T. LEE
                                                   Acting United States Attorney


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                             CERTIFICATE OF SERVICE

      I hereby certify that on Monday, February 24, 2025, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF and a copy was mailed to the

defendant.

                                                /s/ Lena L. Busscher
                                                Assistant United States Attorney
